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                UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION
JEFFEREY JACKSON,

     Movant,

v.                                             Case No. CV616-088
                                                        CR612-018
UNITED STATES OF AMERICA,


     Respondent.

                   REPORT AND RECOMMENDATION

     A year and a half ago this Court denied Jeffery Jackson’s first 28

U.S.C. § 2255 motion on the merits. CR612-018, doc. 1061, adopted, doc.

1071, certificate of appealability denied, doc. 1571, reconsideration

denied, doc. 1571 (11th Cir. Mar. 6, 2015). In this, his second § 2255

motion, doc. 1246, he seeks to exploit the new rule announced in

Johnson v. United States , ___ U.S. ___, 135 S. Ct. 2551 (2015), made

retroactive by Welch v. United States , ___ U.S. ___, 136 S. Ct. 1257

(2016), and triggering a wave of successive § 2255 filings. See, e.g. , In re

Fleur, ___ F.3d ___, 2016 WL 3190539 (11th Cir. June 8, 2016), In re

Hines, ___ F.3d ___, 2016 WL 3189822 (11th Cir. June 8, 2016), and In re
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Ricardo Finder, Jr.,        F.3d ___, 2016 WL 3081954 at * 1 (11th Cir.

June 1, 2016).

      Some of those successive-writ movants have succeeded in knocking

on the appellate court’s door. See, e.g ., In re Hubbard, ___ F.3d ___, 2016

WL 3181417 at *7 (June 8, 2016) (“Because application of Johnson to §

16(b) as incorporated into the Sentencing Guidelines might render the

career-offender residual clause that was applicable at the time Hubbard

was sentenced unconstitutional, and because the rule in Johnson is

substantive with respect to its application to the Sentencing Guidelines

and therefore applies retroactively, this Court grants Hubbard's request

for authorization to file a successive § 2255 motion.”).

      Jackson, too, must knock on the Eleventh Circuit’s door. See In re

Williams,        F.3d ___, 2016 WL 3460899 (11th Cir. June 24, 2016); In re

Colon , No.,      F.3d ___, 2016 WL 3461009 (11th Cir. June 24, 2016); In

re Robinson ,       F.3d ___, 2016 WL 1583616 (11th Cir. Apr. 19, 2016).

And indeed, he has. In re Jackson, 16-13551 (11th Cir. June 18, 2016)

(his successive § 2255 application). Evidently, he was unsure where to

seek relief and thus has opted to make a protective filing here.
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         Given the time constraints illuminated by the                           Robinson

concurrence, 2016 WL 1583616 at * 2 (“As best I can tell, all the

prisoners we turned away may only have until June 26, 2016, to refile

applications based on Johnson .”), the Clerk should be DIRECTED to

simply transfer his June 10, 2016 signature-filed § 2255 motion (doc.

1246 at 13) directly to that court for nunc pro tunc filing. 1 Upon such

transfer, the Probation Office shall file any Presentence Investigation

Report under seal. While this all may be redundant, transfer ensures

that any claim (or unique spin on one) raised here and but not in

Jackson will be placed before the Eleventh Circuit. Plus, transfer clears

the motion from this Court’s docket.
1
    Statutory authority exists for this:

         Whenever a civil action is filed in a court as defined in section 610 of
         this title or an appeal, including a petition for review of administrative
         action, is noticed for or filed with such a court and that court finds that
         there is a want of jurisdiction, the court shall, if it is in the interest of
         justice, transfer such action or appeal to any other such court in which
         the action or appeal could have been brought at the time it was filed or
         noticed, and the action or appeal shall proceed as if it had been filed in
         or noticed for the court to which it is transferred on the date upon
         which it was actually filed in or noticed for the court from which it is
         transferred.

28 U.S.C. § 1631, quoted in Wainwright v. United States , 2016 WL 3452551 at * 2
n. 3 (S.D. Fla., June 24, 2016); see also id. at * 2 n. 2 (“In accordance with 28
U.S.C. § 1631, the Clerk shall TRANSFER this action to the United States Court
of Appeals for the Eleventh Circuit. This Court respectfully requests that the
Eleventh Circuit treat Movant's motion as an application for leave to file a second
or successive § 2255 motion.”).
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     SO REPORTED AND RECOMMENDED, this 29th day of

June, 2016.


                              UNITED STATES MAGISTRATE JUDGE
                              SOUTHERN DISTRICT OF GEORGIA
